Case 1:23-cv-00035-JRH-BKE Document 23 Filed 09/11/23 Page 1 of 3




    C,OckJooo2>)ff6tn




          JJZ.Ojv iMr/h/p       J/74or/^ tht C^un^S 'i\^i:.
         ._.£)e^92Syj^^..-SO^OO ini^..             (XCOM/rh. Ttu^
   Elwdx on                                                    -h QthiHti/       fvt)
          xhauc^A^nih.iht- C^rk
   j^ pn^o^xf ncof^ QncU^tJ on. 9/1J9oX>.
   „._         €^cJ<^ScJ. ^erC D'^Curoe/}'hSf..Xn^tr'^Ci^c^ne^^_
   _^Li/n/no/l3j PneoluClii<»0 O/-. Oocu?VtJ^-k3yfifpc>)/76vMf- .
          CoLwScJ. . pypT^/'C^^.
         ^^BlS^dn                i:o.-SYmr>U-d.CornpJa/ni, c^^
   „„                        pJac.ed un.rny X^-Pe_^p-6hc.
                        jL'.. U^/cScn (Couj)Se/cr^,lhe Dcfex><^^
    Ol^qM 7^ Gcx^ J^trn^ers ■2fe>. pui O./^/ ^SanCr^t          ^coyi


   ..On. JTip.J-^'ft/dcJ'^erlYd'^^^^dk CC^Pon '^Xnf<fr/>?(xh^a^ Cmd —
   _3ecie.:^^ Pnitn Cln Of^/CCT 0-€ d<5'/n'P
   ^Off^^'-CzrJj^e. Do.^ .Cn-hr-r7cd my                   aJS^               _
    Culic.lyod. .2)Crfitr?sUcp-X.                Do^pt
    A dXoj:ni^p dpi^u-'i 0\. So-nOfio/) pu-/- jZJZ/ny
   ...Sn lo/^^a-k. ji£td mJor/n€^dp3cwt thi) an off/cer echoed
   p)^& SanO^'m placed on                         dehyda/ri-
   .Lj-JocJQon.CpanSehr. X (d> n^rt                     rtuepti
   ^ Jh.nt_(ht:^^ xdeAieiY CLi-dkt- 6tmt .du-.tjhAzir
Case 1:23-cv-00035-JRH-BKE Document 23 Filed 09/11/23 Page 2 of 3




                                       on. cit.^Oyzt..^^s_

           Av^g/L- /l.cy-^JC^.J2^&<^J^-^d.-.a/i^.l^^^/2Zc^iL2!:^^ ^.d.


   £^^rf^._onJy^t..^CSKCjtP?ooiM'^*Ccn^ c\^ind o(lsc^^rtd.^
  jtht OKDUl by Courps._
  .^. . .. fir)^^her._re.c^Jc,yj    )p<Kys 3-j-^'6t          is
    yj.oJ^3y^Pf-)MJod                     X^ya!roai!

    .i/yoJc^dr^.H .oJ^./^CCesy, yo bPe Ojc/n^y _ _
    .„. .Hyr? jujp_0.oc^ rcc^i/l'^ Le^a/.^o^/.ib^P
   _jL^3 po^P/OarJcecb ^lQl>)ScSh Pa>yn iPt OffsrC^.
  .„_(2^:72^£_CZa?^^>6n^/7Ju..c/<; Gt^ryc^ 3iS^} yd
    /dc^Y .5/ P. /OcLiJ IThfiPi 3-k^P rtcti^Bvl
    I^id yiQp^if—d.ey/Mtrd-.'h:i yr^y LdJ .dTX
    ^_C\.iJb cbc^y__j:;PsMylj^Cl/7i^theK X.e^dSndJ             p^SP-
   /y?arkeJ ^//SJ^'^3 ppc>yi.Cbcrk) CC'S^ DsPricP Caurb)
   ^Lip'LtSic^<,&^'^'y''^ 30^(^3 y^f Jb^y                                .—
   _3si^n)Ptd^iCSStJUt£p-^^SQi(j2 ^Jpiy/^o33          (ybefiyes^cJ
   :b3>.,rT)y- CdLon.9/jJplo9^           y-O0a.m:-^J/-3oatn               --.
          3crycQbab../^S.dd^/HcQhtt-P^ccP^Por}
   .PlQCA^'^                 _Ce^ J<yf? .Pb3(-P- ^CArCid^. OtU^"
   ,D.ut. -b -B^^.^SyxncPfm £btiny rtPuStdJcdtnied pnrPdcPd£
   _ QuSitcly Ly ddo^/S S* P» 3>u^per\/iSQrS ^ujo3 dorceJ
      in jth^ ybono Co^P CLOoPUer cnnydt Cuho
Case 1:23-cv-00035-JRH-BKE Document 23 Filed 09/11/23 Page 3 of 3



   C^3Ma.l:k£/ni                           li^ SojolJe'^ cye'i/^P&pt^
                                      0>oCt_




   ..^0/^ /V-t- Ay Dc^fwdcud. X>-
    _^d._3uptts-^Sd^:kMe.d~c
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                      Oaun)e^y0


       i)u £-         iOOo^-Lh^loy L^i-tkhjJd^ d^y2-
    .DJof-kc .pt?<^n..:x ^QrJjL dh t..Caurll
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                O^oh^ ^      Co/?3-k/'hif c)^C£/../D/SOooduot^.-.
          hvtr Lepo^/TVarl it> vot OJ3 ki / S
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           /W/T S-M-H. pn^/?
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